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IAN BENJAMIN ROGERS

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, ) Case No. 21-CR-00274-CRB
)
Plaintiff, ) LETTER IN SUPPORT OF IAN ROGERS’
) SENTENCING MEMORANDUM
VS. )
)
IAN BENJAMIN ROGERS, )
)
Defendant. )
)
)

Mr. ROGERS was originally scheduled for sentencing on September 28, 2022. At that
time, the sentencing hearing was continued so that Mr. ROGERS could be evaluated by Dr. John
Chamberlain. Dr. Chamberlain evaluated Mr. ROGERS and filed his evaluation with the Court.
Mr. ROGERS is now scheduled for sentencing on March 1, 2023 at 10:30 a.m. Attached as
Exhibit “A” is a hand-written letter written by Mr. ROGERS on October 7, 2022.

Respectfully submitted,

THE COOPER LAW OFFICES

Dated: February 8, 2023 /s/
COLIN COOPER
Attorney for IAN BENJAMIN ROGERS

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